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                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

 In re:                                               Case No.: 8:23-bk-05477
                                                      Chapter: 7
 RAPHAEL KHORRAN,

  Debtor.
 _______________________________/

 PRO HEALTH, INC.                                     Adversary Proceeding No. 8:24-ap-00158


           Plaintiff,
 vs.

 RAPHAEL KHORRAN,

       Defendant.
 _______________________________/

                             AMENDED ADVERSARY COMPLAINT

          Plaintiff, Pro Health, Inc. (“Pro Health” or Plaintiff”), by and through their undersigned

counsel, hereby sue defendant, Raphael Khorran (“Dr. Khorran,” “Landlord,” or “Defendant”),

and alleges:

                                   JURISDICTION AND VENUE

          1.      The Petition was filed in the United States Bankruptcy Court for the Middle District

of Florida, Tampa Division (the “Bankruptcy Court”), and thereby initiated the chapter 11

bankruptcy case styled, In re Raphael Khorran, Case No. 8:23-bk-05477-RCT (the “Bankruptcy

Case”).

          2.      On February 8, 2024, the Bankruptcy Case was converted from a case under

Chapter 11 to a case under Chapter 7 of the Bankruptcy Code.
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        3.       This is an adversary proceeding (this “Adversary Proceeding”)1 governed by

Federal Rule of Bankruptcy Procedure 7001, and other applicable law.

        4.       This is a “core” proceeding pursuant to 28 U.S.C. §§ 157(b)(2)(I).

        5.       This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334.

        6.       Venue is proper in this Court pursuant to 28 U.S.C. § 1409 as this action arises and

relates to the Bankruptcy Case.

                                                   PARTIES

        7.       Pro Health is a Florida corporation, with its principal place of business in

Hillsborough County, Florida, and is a creditor of Dr. Khorran in the Bankruptcy Case.

        8.       Dr. Khorran is an individual, sui juris, residing in Hillsborough County, Florida.

                                              INTRODUCTION

        9.       Pro Health and Dr. Khorran were parties to a nonresidential Lease Agreement (the

“Lease) for the real property located at 512 S. Dale Mabry Hwy., Tampa, Florida, 33609 (the “Dale

Mabry Property”).

        10.      At the time the petition was filed, Dr. Khorran and Pro Health were parties to the

following proceedings related to the Lease and amounts due Pro Health from Dr. Khorran related

thereto:

              a. The consolidated civil actions styled Pro Health, Inc. v. Raphael Khorran and

                 Barbara Khorran filed in the Thirteenth Judicial Circuit in and for Hillsborough

                 County, Florida (the “State Court”), case numbers 2016-CA-011174 and 17-CA-

                 000210 (collectively referred to as the Original Action);

              b. The civil action styled Pro Health, Inc. v. Christine Khorran and Raphael Khorran,


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  The deadline set by this Court for filing this Adversary Proceeding is June 21, 2022. This Adversary Proceeding is
therefore timely.

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                   filed in the Circuit Court of the Sixth Judicial Circuit in and for Pasco County,

                   Florida, Case Nos. 21-CA-000011 (the “Pasco UFTA Action”);

                c. The civil action styled Raphael Khorran and Barbara Khorran v. Pro Health, Inc.

                   filed in the Thirteenth Judicial Circuit in and for Hillsborough County, Florida, case

                   number 21-CA-005779 (the “Fraud Action”);

                d. The civil action styled the civil action filed by the Landlord styled Raphael Khorran

                   and Barbara Khorran v. Pro Health, Inc. filed in the County Court of the Thirteenth

                   Judicial Circuit of Hillsborough County, Florida (the “2022 Eviction Action”);

                e. The appeal styled Raphael Khorran and Barbara Khorran v. Pro Health, Inc. filed

                   in the Florida Second District Court of Appeal, Case No. 2D22-3100 (the “3100

                   Appeal”);

                f. The appeal styled Raphael Khorran and Barbara Khorran v. Pro Health, Inc. filed

                   in the Florida Second District Court of Appeal, Case No. 2D22-3555 (the “3555

                   Appeal”); and

                g. The foreign judgment domestication proceeding styled Pro Health, Inc. v. Raphael

                   Khorran and Barbara Khorran filed in Clark County, Kentucky (the “Kentucky

                   Domestication Proceeding”).

          11.      On October 7, 2022, in the Original Action, the State Court entered its “Order

Granting Plaintiff’s Motion for Entry of Final Order and Incorporated Final Order” (the “Original

Action Final Order”), which determined that Pro Health shall recover from Dr. Khorran the total

amount of $1,657,114.24 (consisting of $57,936.26 in damages, and $1,599,177.98 in attorney’s

fees and costs), and determined that execution shall issue forthwith on all amounts due to Pro

Health.



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       12.      Of the total amount awarded for attorney’s fees and costs, the State Court

determined that Pro Health was entitled to:

             a. $181,412.40 for attorney’s fees and $32,540.98 in costs pursuant to section 44.203,

                Florida Statutes;

             b. $197,405.50 in attorney’s fees and $19,483.09 in costs pursuant to section 768.79,

                Florida Statutes; and

             c. $5,004.00 as a sanction pursuant to the State Court’s “Order Granting Pro Health,

                Inc.’s and Dr. Arvanitis’ Omnibus Motion for Sanctions against Dr. Khorran for

                Perpetrating a Fraud on the Court.”

       13.      In the Fraud Action, on April 26, 2023, the state court entered a final judgment in

favor of Pro Health on all seven counts of its Counterclaim, awarded damages of $300,136.13

against Dr. Khorran, determined that execution shall issue forthwith on all amounts due to Pro

Health, and determined that Dr. Khorran shall take nothing from the action and go hence without

day (the “Fraud Judgment”).

       14.      Pro Health filed a timely motion to tax its attorney’s fees and costs in the Fraud

Action, however, Dr. Khorran filed the Petition prior to a final adjudication of the motion.

       15.      A certified copy of the Original Action Final Order was recorded as Instrument

Number 2022492064 in the Official Records of the Hillsborough County, Florida by the

Hillsborough County Clerk of the Circuit Court on October 14, 2022, and is attached hereto as

Exhibit “A.”

       16.      As a result of recording the Original Action Final Order in Hillsborough County,

Florida, Pro Health claims a judgment lien on the Dale Mabry Property.

       17.      A certified copy of the Original Action Final Order was recorded as Instrument



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number 3159272 in the Official Records of Charlotte County, Florida by the Charlotte County

Clerk of the Circuit Court on October 18, 2022 and is attached hereto as Exhibit “B.”

       18.     As a result of recording the Original Action Final Order in Charlotte County, Pro

Health claims a judgment lien on the Charlotte Property.

       19.     An exemplified copy of the Original Action Final Order was domesticated in Clark

County, Kentucky in February 2023 and is attached hereto as Exhibit “C.”

       20.     As a result of the domestication of the Original Action Final Order in Clark County,

Kentucky, Pro Health claims a judgment lien against Debtor’s interest in the Kentucky Property.

       21.     A Judgment Lien Certificate for the Original Action Final Order was filed in the

Florida Judgment Lien Registry and is attached hereto as Exhibit “D.”

       22.     As a result of filing the Judgment Lien Certificate, Pro Health claims a lien on

Debtor’s Personal Property.

       23.     A certified copy of the Fraud Judgment was recorded as Instrument Number

2023205095 in the Official Records of the Hillsborough County, Florida by the Hillsborough

County Clerk of the Circuit Court on May 12, 2023, and is attached hereto as Exhibit “E.”

       24.     As a result of recording the Fraud Judgment in Hillsborough County, Florida, Pro

Health claims an additional lien on the Dale Mabry Property.

                                             FACTS

A. Dr. Khorran’s fraudulent, willful, and malicious conduct with respect to the Lease, Pro

  Health, and the Original Action.

                              Facts Alleged in the Fraud Action

       25.     The following facts were alleged in support of Pro Health’s claims in the Fraud

Action, and are germane to, and alleged in support of, the relief sought in this Adversary



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Proceeding:

          a. The Original Action was brought on Pro Health’s Amended Complaint in Case

              No. 16-CA-011174 asserted the following five causes of action against the

              Landlord regarding the failed roof, mold, and water damage:

                  i. Count 1 sought a declaratory judgment that Landlord was responsible for

                     providing and maintaining the roof in a leak free condition and the roof

                     and exterior walls in good condition, order, and repair;

                 ii. Count 2 sought damages for Landlord’s failure to provide and maintain the

                     Property in the condition required by the Lease;

                 iii. Count 3 sought specific performance of the Lease compelling the Landlord

                     to repair the roof and the mold and water damage caused by the failed roof;

                 iv. Count 4 sought damages, declaratory, and injunctive relief under the

                     Florida Deceptive and Unfair Trade Practices Act for Landlord’s conduct

                     in failing to repair the roof;

                 v. Count 5 sought damages for Landlord’s negligent repair and negligent

                     hiring of unqualified persons to repair the roof.

          b. In response to Pro Health’s Complaint, the Landlord filed an Amended

              Counterclaim (the “Original Counterclaim”) in Case No. 16-CA-011174, which

              asserted the following six causes of action against Pro Health and its principal, Dr.

              Douglas Arvanitis:

                  i. Count I sought eviction for nonpayment of rent;

                 ii. Count II sought eviction for nonmonetary breaches of the Lease;

                 iii. Count III sought damages for nonpayment of rent;



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         iv. Count IV sought damages for accelerated rent;

          v. Count V sought damages for nonmonetary breaches of the Lease;

         vi. Count VI sought damages for breach of guaranty against Tenant’s

              principal, Dr. Douglas Arvanitis.

(Counts I, III, and IV are collectively referred to as the “Rent Claims”)(Counts II and V

are referred to as the “Breach Claims”)(Count VI is referred to as the “Guaranty Claim”).

  c. After being served with the Complaint in Case No. 16-CA-011174, Dr. Khorran

      attempted to sell the Property and terminate the Lease, which served as the basis

      for the for the two causes of action asserted by Pro Health in its Complaint in Case

      No. 17-CA-000210 against the Landlord:

          i. Count 1 sought a declaratory judgment that Tenant had properly paid all

              sums due under the Lease; and

          ii. Count 2 sought specific performance of the Lease providing Tenant the

              ability to exercise its right to a renewal term.

  d. The Court in the Original Action entered its order striking Landlord’s affirmative

      defenses with leave to amend in case numbers 16-CA-011174 and 17-CA-000210

      on June 7, 2018.

                               Lease Negotiations

  e. Prior to entering into the Lease, Pro Health and the Landlord engaged in extensive

      negotiations regarding the Premises that lasted several months.

  f. During the negotiations leading up to the Lease, Dr. Douglas Arvanitis (“Dr.

      Arvanitis”), on behalf of Pro Health, expressed Pro Health’s concerns with the

      condition of the Premises due to their dilapidated appearance to the Landlord.



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g. The nature of the discussions of the condition of the Premises, including its roof,

   HVAC, electrical, and plumbing systems was to determine the scope of work,

   commonly referred to as “tenant buildout” or “tenant improvements,” required to

   make the Premises suitable for Pro Health’s growing healthcare practice.

h. Dr. Arvanitis specifically inquired regarding the condition of the Premises

   including its roof, HVAC, electrical, and plumbing systems.

i. In response to Dr. Arvanitis’ inquiries, Dr. Khorran represented to Dr. Arvanitis

   that the Premises was in good condition and just needed a cleaning or a little work

   because it was dirty.

j. In response to Pro Health’s inquiries, Dr. Khorran represented that the roof was in

   good condition and did not leak, that the electrical, plumbing, and HVAC systems

   were in good working order or condition, and the Premises, including the

   foundation and exterior walls were in good condition.

k. The Landlord also informed Dr. Arvanitis that they had owned the Premises since

   the 1980’s and that Dr. Khorran had used the Premises for his office.

l. As a result of the of the Landlord’s representations regarding their long-term

   ownership and use of the Premises, Pro Health believed the Landlord’s

   representations regarding the condition of the Premises because they were in the

   best position to know the condition and maintenance history of the Premises.

m. Dr. Khorran also concealed the engineering plans (the “Plans”) for the Premises,

   which were requested in 2018, until the Court ordered him to produce documents

   in 2020 with no further time permitted for discovery and after the Court had denied

   amendment of the pleadings in the Original Action.



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n. With the exception of the floor plan, Dr. Khorran also did not give the Plans to his

   engineering expert witness in the Original Action, Matt Depin, thereby depriving

   him of the opportunity to compare the Premises as built with the Plans.

o. After receiving the Plans, Pro Health discovered that the construction of the

   Premises deviated from the Plans that the Landlord alleged were approved to obtain

   permits for the Landlord’s construction of an addition to the Premises.

p. In particular, the installation of the mansard and awning significantly deviated from

   the Plans, as did the HVAC.

q. At trial, the Landlord testified that someone had sabotaged the pipe leading to the

   sewer prior to Pro Health taking possession of the Premises.

                The Landlord’s Breaches of the Lease

r. The Landlord had very few obligations under the Lease.

s. Nevertheless, the Landlord breached their obligations under the Lease.

t. Under the lease, the Landlord had a clear and unambiguous duty to provide all

   systems, including, but not limited to electrical, plumbing, and HVAC in good

   working order at the commencement of the lease.

u. Under the lease, the Landlord had a clear and unambiguous duty to provide and

   maintain the roof in a leak free condition.

v. Under the lease, the Landlord had a clear and unambiguous duty to coat and stripe

   the parking lot prior to the Tenant opening for business.

w. Under the lease, the Landlord had a clear and unambiguous duty to keep in good

   order, condition and repair, the foundation, exterior walls and roof, and to make

   any necessary structural repairs of the Premises.



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x. Raphael Khorran’s and Barbara Khorran’s breaches of the Lease by failing to

   maintain the Premises in the condition required by the Lease and their retaliatory

   actions taken when Pro Health complained of the breaches of the Lease prompted

   Pro Health to initiate Original Action.

y. Shortly after Pro Health occupied the Premises, the roof began to leak, and the

   leaking continued in various areas of the Premises through 2015.

z. To address the leaks, Dr. Khorran first attempted to repair the roof leaks himself.

aa. Then, Dr. Khorran hired people off the street to assist him in making the repairs

   without verifying that the persons were licensed and without obtaining permits for

   the repairs.

bb. In 2015, Dr. Khorran hired Javier Degante (“Mr. Degante”) to replace the flat

   section of the roof and make repairs to the gabled section of the roof.

cc. Dr. Khorran did not verify that Mr. Degante was licensed.

dd. Mr. Degante did not have a license that authorized him to make roof repairs.

ee. Mr. Degante provided Dr. Khorran with a receipt or invoice that indicated that he

   was working for Jimmy Franceschini, however, one of the license numbers was

   not the same as Jimmy Franceschini’s.

ff. Jimmy Franceschini, for whom Mr. Degante occasionally works, testified that Mr.

   Degante did not have a license, that Mr. Franceschini was not involved in the

   repairs made by Mr. Degante in 2015, that he did not meet Dr. Khorran until the

   day of his deposition in 2019, and he had not visited the Premises prior to his

   deposition.

gg. In late August 2016, a significant leak appeared in the waiting room in the



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   northwest corner of the building under the flat section of the roof that had been

   replaced by Mr. Degante in 2015 (the “Waiting Room Leak”).

hh. Pro Health provided notice of the Waiting Room Leak to Landlord on September

   2, 2016 (the “Claim Notice”).

ii. Dr. Khorran made no attempt to fix the Waiting Room Leak until September 2019.

jj. Moreover, not a single roofing permit was obtained for the numerous roof repairs

   and replacements that were performed between the time that the Landlord

   purchased the Premises and added the addition in 1987 and the time that it leased

   the Premises to Pro Health in 2013.

kk. The roof leaked in 2013 just before Pro Health entered into the Lease with the

   Landlord.

ll. The Landlord did not disclose the recent roof leaks to Pro Health when it inquired

   about the roof prior to entering into the Lease.

mm.        Dr. Khorran knew of the leaks caused by the gutters in 2016 and testified

   that they were still clogged four years later.

nn. Dr. Khorran was required to maintain the gutters in order to maintain the roof in

   a leak free condition.

oo. The Landlord’s failure to maintain the roof in a leak free condition and the exterior

   walls and roof in good order, condition and repair caused mold and water damage

   in nearly every single room in the building.

pp. The Landlord knew it was their responsibility to maintain the roof in a leak free

   condition and willfully breached the Lease.

qq. The Landlord was informed that the roof was not in a good or leak free condition



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   by everyone who inspected the roof since Pro Heath took possession, but did

   nothing to repair the roof or mold or water damage until 2019, when Dr. Khorran

   hired Javier Degante to perform a cut rate patch job that did not restore the roof to

   the condition required by the Lease.

rr. Dr. Khorran requested Ted Bociek to look at the roof and look at the interior of

   the building prior to Hurricane Irma.

ss. Ted Bociek inspected the Premises September 6, 2017.

tt. Ted Bociek testified that in his opinion the roof was in poor condition, not in leak-

   free condition, and that the roof was not maintained in good order and repair

   when he inspected the building in September 2017.

uu. Ted Bociek testified that the condition of the roof is probably the cause of the

   leaks, but he could not tell exactly where or if they were current or active at the

   time of the inspection.

vv. Ted Bociek testified that the flat section of the roof was put over an existing roof

   and some of the seams were too close, and that the flat section of the roof was in

   average condition and that the water damage below the flat section of the roof

   could be caused by the condition of the flat section of the roof.

ww.        Ted Bociek testified that the gabled section of the roof was in poor

   condition and that water damage under the gabled section of the roof could be

   caused by the condition of the roof.

xx. Ted Bociek discussed the condition of the roof with Dr. Khorran after he

   inspected it and informed Dr. Khorran that the roof had many issues, which

   included the problems with the roof that he circled in the photographs he took.



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yy. Ted Bociek testified that removing the leaves from the gutters was required to

   maintain the roof in leak free condition and in good order and repair.

zz. Ted Bociek testified that Dr. Khorran was supposed to pay him once he finished

   the report, but he never got to that point.

aaa.       On or about January 19, 2018, Dr. Khorran filed a complaint with the City

   of Tampa Code Enforcement, Complaint Number CMP-XX-XXXXXXX regarding the

   Premises.

bbb.       Wayne Morrison did not find any of the code violations as alleged by Dr.

   Khorran, but did find that the roof covering was not up to code and that the

   failures of the roof covering caused damage to the interior of the building.

ccc.       On January 22, 2019, Wayne Morrision issued a Notice of Violation and

   required Dr. Khorran to repair the roof to code and to prevent moisture from

   entering the building, repair and paint the ceiling in the areas of interior damage

   caused by the moisture from the roof, and to obtain all necessary permits based on

   the scope of the roof repairs and opened Code Enforcement Case No. COD-18-

   0000697.

ddd.       As a result of Dr. Khorran’s failure to take the actions necessary to remedy

   the Notice of Violation, the City of Tampa entered Findings of fact, Conclusions

   of Law and Order and/or Order Imposing Lien (the “Enforcement Order”) in

   which the Special Magistrate Jacob Buchman found that Landlord had indeed

   violated the City of Tampa Code as set forth in the Notice of Violation and

   ordered Landlord to remedy the violations by August 8, 2018.




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eee.       At the hearing before Special Magistrate Jacob Buchman, Dr. Khorran’s

   counsel admitted the violation and informed the Special Magistrate that Dr.

   Khorran just needed more time make the repairs.

fff. Dr. Khorran failed to comply with the Enforcement Order.

ggg.       Dr. Khorran was aware of the Order requiring him to make the repairs by

   August 8, 2018 when he testified at his deposition.

hhh.       At his deposition in June 2018, Dr. Khorran also testified that he was

   hiring a contractor to make the repairs required by the Enforcement Order.

iii. On or about September 6, 2016, Landlord initiated CMP-XX-XXXXXXX (the 2016

   Complaint) alleging that the parking lot had been redone with no permit and that

   there was a boat trailer parked on the Premises with no tag.

jjj. The City of Tampa investigated the 2016 Complaint and no violation regarding

   the parking was observed.

kkk.       At his deposition, Dr. Khorran admitted that he submitted an insurance

   claim for damage to the roof caused by Hurricane Irma despite his knowledge that

   the damage to the roof occurred before Hurricane Irma.

lll. Travis Opgenorth is an insurance adjuster that inspected the Premises pursuant to

   Dr. Khorran’s Hurricane Irma claim.

mmm.       Travis Opgenorth inspected the Premises on April 4, 2018 to adjust Dr.

   Khorran’s Hurricane Irma claim.

nnn.       Travis Opgenorth observed water damage within the Premises but did not

   find any damage caused by Hurricane Irma.




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ooo.       Travis Opgenorth observed extensive damage, wear and tear, abnormal,

   and mechanical damage to, and installation issues with, the roof that was not

   caused by Hurricane Irma.

ppp.       Travis Opgenorth concluded that none of the damage at the Premises was

   related to Hurricane Irma.

qqq.       Travis Opgenorth observed mold and mildew at the Premises which was

   likely caused by the roof leaks at the Premises.

rrr. Travis Opgenorth determined that the roof at the Premises was not in leak-free

   condition or in good order and repair when he inspected the Premises on April 4,

   2018.

sss. After being cited by the City of Tampa for the failed roof, Dr. Khorran had the

   roof inspected by Advanced Roofing, Inc. in February 2018 and Advanced

   Roofing, Inc. told Dr. Khorran that it wouldn’t even touch the roof, not even

   prepare a report.

ttt. On July 18, 2019, Khorran filed his Emergency Motion for Realty Access and at

   the hearing held on July 22, 2019, informed the Court that he would promptly

   begin repairs to the roof.

uuu.       Dr. Khorran had at least 4 additional roofers inspect the roof to make the

   repairs in 2019: Turn Key Roofing; Matera Roofing; Ace Roofing; and Ridge Top

   Roofing, however, he failed to hire any of them to make the repairs.

vvv.       In August 2019, pursuant to Dr. Khorran’s request, the Court in the

   Original Action ordered (the “Repair Order”) that funds held in the Court’s




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   registry would be disbursed directly to a contractor to make the repairs required

   by the Enforcement Order.

www.      Ultimately, Dr. Khorran hired Javier Degante, who misappropriated

   Jimmy Franceschini’s name and used Mr. Franceschini’s roofing license as his

   own, to replace the flat section of the roof and make repairs to the shingled

   section of the roof in 2015. Despite knowing the above, Dr. Khorran hired Mr.

   Degante again to perform repairs on the roof.

xxx.      After the hearing, Dr. Khorran had the funds disbursed to EJ Cons &

   Roofing, LLC (the “Con Company”), a company owned by Jimmy Fraceschini so

   that Javier Degante could use its license to perform a cut-rate patch job on the

   roof of the Premises (the “Patch Job”).

yyy.      The Con Company did not hold a general contractors license, much less

   the mold remediation license required to make the repairs to the interior of the

   Premises.

zzz.      On September 13, 2019, Jimmy Franceschini (“Franceschini”) visited the

   Premises and informed Pro Health that his “partner,” Mr. Degante, would be

   performing the repairs for Dr. Khorran.

aaaa.     On September 16, 2019, Mr. Degante appeared to inspect the Premises.

bbbb.     On September 12, 2019, Jimmy Franceschini applied for and obtained a

   permit to perform roofing repairs at the Premises with a total job cost of

   $7,000.00, which means that Dr. Khorran intended to receive a kickback of more

   than $20,000.00 from Franceschini’s company, EJ Cons & Roofing, LLC from

   the funds paid to it pursuant to the Court’s disbursement order.



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cccc.         In late September 2019, Mr. Degante and an unidentified helper performed

    work on the roof of the Premises.

dddd.         Mr. Degante and the unidentified helper made repairs to the roof.

eeee.         Pro Health provided Dr. Khorran with reports from Certified Mold

    Assessments and Air and Surface Disinfection, LLC indicating that the mold and

    water damage caused by the failed roof must be remediated.

ffff.         No repairs were made to remediate the mold and water damage.

gggg.         The cause of the leaking roof was the Landlord’s failure to provide and

    maintain the roof in a leak free condition and provide and maintain the exterior

    walls and roof in good order, condition and repair as required by the Lease.

hhhh.         Dr. Khorran knew that the plumbing was not in good order, condition and

    repair at the commencement of the Lease.

iiii. Dr. Khorran knew that the HVAC was not in good working order condition and

    repair when he delivered possession of the Premises to Pro Health.

jjjj. Between the date that the Original Action was filed and the date that the Original

    Action went to trial, Dr. Khorran was disbursed $130,892.53 from funds that Pro

    Health deposited in the Court’s registry during the pendency of the Original

    Action.

kkkk.         Despite receiving more than enough money from the registry to replace

    the roof as required to bring the roof into compliance with the Lease, Dr. Khorran

    failed to do so.

llll. Throughout the Original Action, Dr. Khorran misrepresented in his motions

    seeking disbursement from the Court’s registry that he required the disbursement



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    because he was continuing to incur expense related debt service on the Premises,

    despite the fact that there was not debt service on the Premises.

mmmm.      On January 1, 2021, Pro Health sent the correspondence to Dr. Khorran to

    notify him that additional water damage was occurring due to his failure to

    properly repair the roof (the “Additional Damage Notice”).

nnnn.      Dr. Khorran failed to repair the roof, remediate the water damage, or

    provide insurance information in response to the Additional Damage Notice.

oooo.      As a result of the Landlord’s complete and total failure to comply with

    their obligations regarding the delivery and maintenance of the Premises, Pro

    Health has been forced to relocate its business to a different location.

                             Khorran’s Claims

pppp.      On December 19, 2016, Pro Health informed the Landlord of its intent to

    exercise its right to the renewal term.

qqqq.      On December 22, 2016, Dr. Khorran mailed a three-day notice to pay rent

    or deliver possession (the (“3-Day Notice”), and a notice that Pro Health could not

    exercise the right to its renewal term because it was in material breach of the Lease

    (the “Breach Notice”).

rrrr.      The 3-Day Notice alleged that Pro Health was in default of the Lease for

    failure to pay rent in the amount of $1,212.82.

ssss.      The Breach Notice vaguely alleged that Pro Health had committed

    nonmonetary breaches the Lease.

tttt. The 3-Day Notice served as the basis for the Rent Claims.

uuuu.      The Breach Notice later served as the basis for the Breach Claims.



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vvvv.     The Landlord did not complain about Pro Health’s payment of sums due

   under the Lease at any time prior to September 2, 2016 when Pro Health sent its

   Claim Notice regarding the Waiting Room Leaks.

wwww.     After receipt of the Claim Notice, the Landlord alleged that Pro Health had

   defaulted in payment of rent.

xxxx.     The Landlord’s Rent Claim included and action for eviction claiming that

   it had failed to pay $1,212.82.

yyyy.     On Wednesday, January 24, 2017, Pro Health requested an accounting of

   the payments that had been made under the Lease, however, Landlord did not

   provide an accounting of the payments made under the Lease.

zzzz.     On February 15, 2017, Pro Health’s counsel inquired “Did the Khorrns so

   much as maintained a ledger of the payments received or any books with regard to

   the Lease? If so, could you produce records prior to a hearing on the Motion to

   Determine Rent?,” however, Landlord’s counsel did not answer the inquiries.

aaaaa.    As it turned out, the Landlord did not maintain a ledger of the amounts due

   and paid under the Lease.

bbbbb.    The Landlord also did not provide copies of the bills for property insurance

   and divide them over the following 12 months as required by the Lease.

ccccc.    The Landlord also did not provide copies of the property insurance bills and

   divide them over the following 12 months as required by the Lease.

ddddd.    At his deposition, Dr. Raphael Khorran failed to produce any journal or

   ledger of the amounts due and paid under the Lease that had been

   contemporaneously maintained by the Landlord.



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eeeee.         The “ledgers” produced by Dr. Khorran at his deposition were created by

     him within 3 months of the deposition (more than a year after the Rent Claim was

     asserted) or were created by his accountant, Judith Cole, after the Original Action

     was filed.

fffff.         Dr. Khorran did not provide his alleged expert witness, Judith Cole, with

     complete records regarding the amounts due and paid under the Lease.

ggggg.         Judith Cole had to rely on Pro Health’s records because Dr. Khorran did not

     have complete records.

hhhhh.         Judith Cole could not verify that Dr. Khorran actually paid the expenses that

     he charged Pro Health, including sales tax that the Landlord collected from Pro

     Health.

iiiii.         Dr. Khorran misrepresented the rent commencement date throughout the

     course of the Original Action and that was made evident from the correspondence

     attached as Exhibit “F”, which clearly indicates that Pro Health was provided 5

     months’ rent free at the beginning of the Lease.

jjjjj.         Ultimately, the Court in the original action found that Pro Health had

     overpaid rent at the time that Landlord had issued the 3-Day Notice, and, that by

     the time of trial in the Original Action, Pro Health had overpaid the amounts due

     under the Lease by $14,314.17.

kkkkk.         In sum, Landlord, without maintaining contemporaneous records or a ledger

     reflecting the amounts due and paid under the Lease, and without having ever

     provided the bills for the Premises insurance and property taxes in accord with the

     Lease, asserted an eviction action against Pro Health on the basis that it had not



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     paid rent, when, in fact, at the time that he had asserted the alleged default, Pro

     Health was ahead in the payment of rent.

lllll.      In addition to pursuing eviction for nonpayment of rent, Dr. Khorran

     pursued the Breach Claims.

mmmmm. Approximately a year and a half after Dr. Khorran sent the Breach Notice,

     Dr. Khorran repeatedly testified at his deposition that he did not know whether Pro

     Health had beached the Lease, he only suspected that it had breached the Lease.

nnnnn.      Nevertheless, Dr. Khorran persisted in pursuing the Breach Claims.

ooooo.      Ultimately, Dr. Khorran lost the Breach Claims.

ppppp.      Dr. Khorran’s pursuit of the Rent Claims, the Breach Claims, and the

     Guaranty Claim (together, the “Frivolous Claims”) without evidence and without

     probable cause caused Pro Health and Dr. Arvanitis to incur significant attorney’s

     fees and costs to defend against the Frivolous Claims and to pursue the claims

     asserted in Case No. 17-CA-000210 which were founded upon and inextricably

     intertwined with the Frivolous Claims.

qqqqq.      Finally, throughout the course of the original action, Dr. Khorran

     maintained the completely untenable positions that the roof leaked because Pro

     Health put down linoleum floors and that the leaking was from below the roof.

rrrrr.

sssss.      In August 2019, the Court ordered Pro Health and Dr. Khorran to attend

     nonbinding arbitration in the Original Action (the “Arbitration”).

ttttt.      Following the Arbitration, Dr. Khorran requested a trial de novo.




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uuuuu.      During the Arbitration, when Pro Health raised the issue of the kickback Dr.

   Khorran received from the Con Company, Dr. Khorran filed a motion seeking to

   redeposit the kickback received in the Court’s registry to be re-disbursed to pay his

   arbitration expenses.

vvvvv.      Following the redisbursement to Dr. Khorrran to pay his arbitration

   expenses, Dr. Khorran requested yet another disbursement from the registry.

wwwww. At the hearing on the next requested disbursement the arbitrator appeared

   and indicated that Dr. Khorran had not paid him from the redisbursement of the

   kickback and the Court disbursed funds directly from the registry to the arbitrator

   to pay Dr. Khorran’s half of the arbitrator’s fee.

xxxxx.      At a later hearing on another request for disbursement of registry funds in

   2020, the mediator that had mediated the parties claims in July 2019 appeared and

   the Court disbursed funds directly to the mediator to pay Dr. Khorran’s half of her

   fee.

yyyyy.      On March 23, 2020, the Court entered its Order Granting Plaintiff’s Motion

   for Partial Summary Judgment as to Counts 1 and 3 of Pro Health’s Amended

   Complaint in Regarding the Roof in the Original Action (the “Summary

   Judgment”).

zzzzz.      The Summary Judgment granted summary judgment on Pro Health’s claims

   for specific performance of the Khorran’s maintenance provisions of the Lease

   regarding maintaining and repairing the Premises to the condition required by the

   Lease.




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aaaaaa.    Dr. Khorran took no action to repair the Premises in response to the

    Summary Judgment.

bbbbbb.    In February 2020, Pro Health proposed that the parties attempt to base a

    settlement off of the arbitration order, however, Dr. Khorran responded within

    hours demanding that Pro Health pay him damages, attorneys fees, and vacate the

    Premises.

cccccc.    In December 2020, Dr. Khorran, through his prior transactional counsel,

    Josh Podolsky, offered to put the proceeds from the sale of the Premises into the

    registry of the Court if Pro Health would agree to permit Dr. Khorran to sell the

    Property to a prospective buyer free and clear of Pro Health’s claims against the

    Property.

dddddd.    Pro Health, through its counsel worked with Mr. Podolsky from December

    2020 through December 2021 to prepare the agreements and documents to permit

    the sale and effectuate the deal offered by Dr. Khorran.

eeeeee.    Pro Health’s counsel and Mr. Podolsky reached an agreement as to the final

    documents that would allow the sale to close before December 31, 2021, however,

    Dr. Khorran reneged on the deal that he proposed.

ffffff.    After a hearing in March 2021, the Court in the Original Action entered an

    order that caused Pro Health to file the appeal styled as Pro Health v. Raphael and

    Barbara Khorran, filed in the Second District Court of Appeal

gggggg.    The Interlocutory Appeal is the direct result of Dr. Khorran submitting a

    proposed order to the Court in the Original Action that exceeded the Court’s oral




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     pronouncements of its rulings at the hearing and failure to inform the Court of Pro

     Health’s objections to the proposed order as required by local administrative orders.

hhhhhh.     Had Dr. Khorran simply submitted a proposed order that accurately

     reflected the Court’s verbal pronouncements at the hearing, there would not have

     been any need to Appeal. As it stands, he did not, and has caused Pro Health to

     incur additional fees and costs to appeal the Stay Order due to his overreach.

                   Demands for Insurance Information

iiiiii.     Pro Health demanded insurance information from Landlord pursuant to

     section 627.4137, Florida Statutes on April 28, 2016 (the “First Insurance

     Demand”).

jjjjjj.     Landlord failed to comply with section 627.4137, Florida Statutes regarding

     the First Insurance Demand.

kkkkkk.     Pro Health demanded insurance information from Landlord pursuant to

     section 627.4137, Florida Statutes on September 2, 2016 (the “Second Insurance

     Demand”).

llllll.     Landlord failed to comply with section 627.4137, Florida Statutes regarding

     the Second Insurance Demand.

mmmmmm.             Pro Health demanded insurance information from Dr. Khorran

     pursuant to section 627.4137, Florida Statutes on June 15, 2017 (the “Third

     Insurance Demand”).

nnnnnn.     Dr. Khorran failed to comply with section 627.4137, Florida Statutes

     regarding the Third Insurance Demand.




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oooooo.     Pro Health demanded insurance information from Dr. Khorran pursuant to

     section 627.4137, Florida Statutes on September 19, 2019 (the “Fourth Insurance

     Demand”).

pppppp.     Dr. Khorran failed to comply with section 627.4137, Florida Statutes

     regarding the Fourth Insurance Demand.

qqqqqq.     Pro Health demanded insurance information from Dr. Khorran pursuant to

     section 627.4137, Florida Statutes on January 1, 2021 (the “Fifth Insurance

     Demand”) when it informed him of new additional leaks at the Premises.

rrrrrr.     Dr. Khorran failed to comply with section 627.4137, Florida Statutes

     regarding the Fifth Insurance Demand.

ssssss.     Pro Health demanded insurance information from Dr. Khorran pursuant to

     section 627.4137, Florida Statutes on February 28, 2021 (the “Sixth Insurance

     Demand”).

tttttt.     Dr. Khorran failed to comply with section 627.4137, Florida Statutes

     regarding the Sixth Insurance Demand.

uuuuuu.     To date, Dr. Khorran has failed to comply with any of Pro Health’s demands

     that he provide the information required by section 627.4137, Florida Statutes.

vvvvvv.     Had Dr. Khorran complied with the statute, his insurance carrier(s) may

     have provided him with counsel under their duty to defend because Pro Health

     asserted that the Landlord was negligent in their maintenance of the Premises.

wwwwww.             Instead, Dr. Khorran retained his own counsel to represent him and

     paid them from rent paid by Pro Health.




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      xxxxxx.    Had Dr. Khorran complied with the statute, his insurance carrier(s) may

         have resolved the claims regarding his negligent maintenance and repair of the roof.

      yyyyyy.    As it stands, Dr. Khorran did not comply with Section 627.4137, Florida

         Statutes, and Pro Health has not received any information required by law, his

         insurers did not provide him defense counsel, and have not made any payments to

         Pro Health for the Landlord’s negligence.

      zzzzzz.    To Pro Health’s knowledge, the only claim Dr. Khorran reported to his

         insurance carrier was that the roof was damaged by Hurricane Irma.

      aaaaaaa.   Hurricane Irma passed by Tampa on September 11, 2017.

      bbbbbbb. More than a year had passed since the leaks occurred by the time Hurricane

         Irma passed by Tampa, Florida.

      ccccccc.   Instead, Pro Health has recovered the Judgement for damages for

         negligence against the Landlord and the claim will need to be satisfied from Dr.

         Khorran’s assets.

                 Attempted Sales and the Right of First Refusal

      ddddddd. The Lease contains the following provision:




(the “ROFR”).

      eeeeeee.   On June 22, 2016, James Jacob of Jacob Real Estate Services, Inc. provided

         Landlord with an opinion that the Property indicating that: (1) the lot does not meet


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     the minimum zoning requirements for CG zoning; (2) that the property value had a

     range between $287,550.00 and $440,000.00; and (3) that he thought an appraiser

     would be hard pressed to reach a number much higher than $400,000.00.

fffffff.       On June 24, 2016, Landlord delivered an offer to sell the Premises to Pro

     Health for $650,000.00.

ggggggg. Pro Health did not accept the Landlord offer to sell it the Premises for

     $650,000.00.

hhhhhhh. Shortly after Pro Health did not agree to purchase the Premises for

     $650,000.00, the Landlord listed the property for sale for $599,900.00.

iiiiiii.       On or about December 17, 2016, Pro Health received an expired offer from

     the to purchase the property for $599,900.00 and a demand that Pro Health

     exercise its right of first refusal (the “First Contract”).

jjjjjjj.       The First Contract alleged that Pro Health’s lease expired in March 2018

     and made no mention of the renewal term.

kkkkkkk. In 2020, the Dr. Khorran presented Pro Health with the contract [for the

     sale of the Dale Mabry Property] (the “Second Contract”).

lllllll.       The Second Contract violated the ROFR because it required Dr. Khorran

     to deliver exclusive possession of the Premises to the proposed buyer in

     violation of the Lease.

mmmmmmm.              In sum, the Landlord did not comply with contractual obligations,

     did not comply with Florida Statutes, did not comply with local laws and

     ordinances, did not comply with municipal orders, and did not comply with Court

     orders.



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   nnnnnnn. Landlord is a contemptuous law violator that has acted in a conscious

       disregard of Pro Health’s rights.

   ooooooo. The Landlord has acted in conscious disregard of Pro Health’s rights. The

       Landlord’s actions including the Landlord’s total breaches of the Lease can be

       described in no lesser terms than “willful,” “deliberate,” or “malicious.”

            Additional Allegations Related to the Original Action


26. Dr. Khorran knew that the Dale Mabry Property was worth substantially less money

   subject to the Lease, than it would be without it, and endeavored to proceed on Rent

   Claims and Breach Claims to wrongfully evict Pro Health from the Premises, and

   assuming that failed, he failed to maintain the Dale Mabry Property such that Pro

   Health would be constructively evicted from the Dale Mabry Property.

27. A copy of Dr. Khorran’s counterclaim in the Original Action is attached as Exhibit

   “G.”

              Additional Allegations Related to the Original Action

28. On March 23, 2020, the State Court entered its Order Granting Plaintiff’s Motion for

   Partial Summary Judgment as to Counts 1 and 3 of Pro Health’s Amended Complaint

   Regarding the Roof (the “Summary Judgment Order”).

29. On September 3, 4, and 16, 2020, the State Court tried all claims and defenses raised

   by the parties in their pleadings in case numbers 2016-CA-011174 and 17-CA-000210.

30. On November 16, 2020, the State Court entered its Final Judgment Against Raphael

   and Barbara Khorran (the “Final Judgment”), in which it reserved jurisdiction to award

   Pro Health specific damages or relief as to count 3 of Plaintiff’s Amended Complaint,




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   determine prejudgment interest, determine attorney’s fees and costs, and enforce the

   Final Judgment.

31. On December 11, 2020, the State Court entered the following orders:

   a. Amended Final Judgment Against Raphael and Barbara Khorran (the “Amended

       Final Judgment”), in which it in which it reserved jurisdiction to award Pro Health

       specific damages or relief as to count 3 given Dr. Arvanitis’s and Pro Health, Inc.’s

       purchase of a different commercial property, determine prejudgment interest,

       determine attorney’s fees and costs, and enforce the Amended Final Judgment;

   b. Order Granting Plaintiff’s Amended motion to Amend Judgment and Denying

       Defendant’s Motion for Rehearing and New Trial with Embedded Memorandum

       of Law entered by the State Court on December 11, 2020; and

   c. Order Denying Defendant’s Motion for New Trial With Prejudice entered by the

       State Court on December 11, 2020.

32. Following the entry of the Final Judgment against him in the Original Action, Dr.

   Khorran retained Parrish & Goodman, PLLC to file “a Motion to Stay Proceedings

   and all necessary peripheral actions in an attempt to stay collections while [Dr.

   Khorran’s] appellate attorney prepares the Notice of Appeal in the [Original Action].”

33. Joseph Parrish (“Parrish”) of Parrish & Goodman, PLLC entered an appearance on

   behalf of Dr. Khorran in the Original Action and immediately sought a continuance of

   a hearing on Pro Health’s motion seeking to tax its fees and costs despite Dr. Khorran

   being represented by another lawyer, Bryant Dunivan.

34. On December 21, 2021, Dr. Khorran appealed the Final Judgment and Amended Final

   Judgment to the Second District Court of Appeal.



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35. On March 1, 2021, the Second District Court of Appeal granted Dr. Khorran’s motion

   to dismiss his appeal and dismissed Dr. Khorran’s appeal of the Final Judgment and

   Amended Final Judgment as from non-appealable nonfinal orders in response to the

   Khorrans’ argument that the Final Judgment and Amended Final Judgment were not

   final because the State Court had reserved jurisdiction to award additional damages for

   Count 3 of Pro Health’s Amended Complaint.

36. With respect to the underlying problem of the Final Judgment and Amended Final

   Judgment lacking finality due to the State Court’s reservation regarding Count 3, during

   a series of case management conferences beginning on June 2, 2021 and continuing

   through July 6, 2021, Pro Health asked the State Court to set final hearings on Count 3

   and on its attorney fee claim, however, Dr. Khorran objected, and the State Court

   instructed counsel for the parties to brief the issue regarding what would happen if

   Count 3 was dismissed.

37. Dr. Khorran objected to the dismissal of Count 3 and setting a hearing to determine

   Pro Health’s attorney’s fees and costs.

38. On November 4, 2021, Pro Health, Inc. filed its first Motion for Entry of Final Order,

   which sought dismissal of Count 3 of its Amended Complaint.

39. Dr. Khorran continued to object to the dismissal of Count 3.

40. At a hearing held on June 2, 2021, Dr. Khorran’s other counsel, Bryant Dunivan

   informed the State Court that Dr. Khorran’s objection was predicated on Dr. Khorran

   seeking leave to amend his affirmative defenses.

41. Despite the representation to the State Court, Dr. Khorran never sought amendment of

   his defenses.



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42. Further, Dr. Khorran did not raise any issue with respect to amendment in either the

   3100 Appeal or 3555 Appeal.

43. The true purpose of contesting the voluntary dismissal of Count 3 and opposing

   setting hearings on the amount of attorneys fees was for Dr. Khorran to dissipate

   assets that would otherwise be available to pay Pro Health’s claims.

44. On November 30, 2021, Dr. Khorran sold the real property located at 30320 Arrochar

   Street, Wesley Chapel, FL 33545 on November 30, 2021 and received $244,746.78

   from the sale (the “Arrochar Money”).

45. As addressed below, the Arrochar Money cannot be fully accounted for based upon a

   review of the limited financial records Dr. Khorran produced to Pro Health with his

   Fact Information Sheet.

46. The Arrochar Property was a rental property that provided Dr. Khorran with income.

47. Dr. Khorran sought several continuances of the hearings on Pro Health’s attorney fee

   claim in the Original Action, but ultimately, the State Court entered its “Amended

   Order Granting Attorneys’ Fees and Costs (To Include Application of a Multiplier)”

   (the “Amended Fee Order”) on August 19, 2022.

48. Dr. Khorran continued to oppose the dismissal of Count 3.

   Delays of the 3100 Appeal and 3555 Appeal and Post-Judgment Discovery

49. On September 19, 2022, Dr. Khorran initiated the 3100 Appeal seeking review of the

   State Court’s Summary Judgment Order, Amended Final Judgment, and amended

   order granting Pro Health’s significant attorney’s fees entered in the Original Action.

50. On October 21, 2022, Dr. Khorran initiated the 3555 Appeal seeking review of the

   Original Action Final Order.



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51. Dr. Khorran sought numerous extensions of time to file his initial brief in the 3100

   Appeal, which was not filed until June 27, 2023.

52. Dr. Khorran sought numerous extensions to file his initial brief in the 3555 Appeal,

   which was not filed until July 28, 2023.

53. The Original Action Final Order required Dr. Khorran to complete under oath Florida

   Rule of Civil Procedure Form 1.977 Fact Information Sheet (the “FIS”) and serve it on

   Pro Health’s counsel.

54. During the period of delay in the 3100 Appeal and 3555 Appeal, Dr. Khorran failed

   and refused to provide his FIS and other discovery into his finances on the grounds

   that the 3100 Appeal and 3555 Appeal had not been resolved.

55. Dr. Khorran failed and refused to provide his FIS and other discovery into his

   finances.

56. The State Court was required to enter an order to show cause and hold hearings on

   January 30, 2023, February 6, 2023, February 10, 2023, February 22, 2023, and March

   8, 2023 simply to get the Dr. Khorran to the FIS and (most) of the accompanying

   documents.

57. At the hearing held on March 8, 2023, Pro Health complained that it could not account

   for all of the Arrochar Money based upon the limited financials provided and the State

   Court instructed the parties that further discovery in aid of execution could proceed by

   the deposition of Dr. Khorran.

58. Pro Health coordinated Dr. Khorran’s deposition to occur on April 24, 2023.

59. On April 14, 2023, Pro Health filed its Notice of Taking Deposition Duces Tecum in

   Aid of Execution.



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60. On April 24, 2023, Dr. Khorran appeared for his deposition with Masable Baker, who,

   without entering an appearance, appeared at the Appellants deposition in aid of

   execution on April 24, 2023 and claimed to represent Appellant for the sole purpose of

   defending his deposition in aid of execution.

61. At the deposition, Mr. Baker requested two months for the Appellant to produce the

   documents requested in the notice, but ultimately agreed that the continued deposition

   would be reset to occur the week of June 5, 2023.

62. Further, approximately an hour and a half into the deposition on April 24, 2023, Dr.

   Khorran stated that he needed to leave the deposition by noon.

63. On April 26, 2023, when Pro Health attempted to schedule the continued deposition,

   Mr. Baker informed its counsel that he had spoken with Dr. Khorran, who was not in a

   position to secure Mr. Baker’s presence beyond the first deposition and requested for

   "to schedule the continued deposition directly with Dr. Khorran.

64. Pro Health scheduled the continued deposition directly with Dr. Khorran to occur on

   June 9, 2023.

65. On April 27, 2023, Pro Health filed its Continued Notice of Deposition Duces Tecum

   in Aid of Execution.

66. When Dr. Khorran appeared for his continued deposition on June 9, 2023, he claimed

   that he retained Mr. Baker on June 8, 2023 to represent him at his continued deposition

   and that stated that he would “not continue with any deposition unless [he had] counsel,

   and Mr. Baker is representing [him].”

67. Mr. Baker could not be reached during the deposition. (Khorran Dep. at 86:22-95:15,

   June 9, 2023).



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68. Mr. Baker did not enter an appearance in the Original Action and refused to respond to

   inquiries regarding the status of his representation.

69. The State Court reserved jurisdiction to disburse the funds held in its registry to Pro

   Health in the Original Action.

70. Nevertheless, on December 18, 2023, Dr. Khorran took steps to recover the funds

   held in the State Court’s Registry by requesting a statement regarding the available

   funds in the registry.

                 Conclusion of the 3100 Appeal and 3555 Appeal

71. On February 2, 2024, the Second DCA affirmed the State Court’s orers which were

   the subject of the 3100 Appeal.

72. The Second DCA also determined that Pro Health was entitled to recover its

   attorney’s fees from Dr. Khorran for the defense of the 3100 Appeal.

73. On February 7, 2024, the Second DCA affirmed the State Court’s Original Action

   Final Judgment in the 3555 Appeal.

74. The Second DCA also determined that Pro Health was entitled to recover its

   attorney’s fees from Dr. Khorran for the defense of the 3555 Appeal.

75. Dr. Khorran sought rehearing of the Second DCA’s determinations in the 3100

   Appeal and 3555 Appeal, however, the Second DCA denied Dr. Khorran’s motions

   for rehearing in both appeals.

                               The 2022 Eviction Action

76. Despite Pro Health vacating the Dale Mabry Property as a result of being constructively

   evicted in March 2022, Dr. Khorran sought to evict Pro Health from the Dale Mabry

   Property when he filed the 2022 Eviction Action on October 26, 2022.



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77. Moreover, the 2022 Eviction Action was filed after the entry of the Original Action

   Final Order, which had determined that Dr. Khorran owed Pro Health significant sums

   of money.

78. Obviously, there were no grounds for pursuing the 2022 Eviction Action against Pro

   Health given its constructive eviction.

79. Pro Health prevailed in the 2022 Eviction Action and timely filed a motion seeking to

   tax its attorney’s fees and costs.

                                 The Bankruptcy Case

80. The Bankruptcy Case was filed for no purpose other than to delay the sale of the Dale

   Mabry Property at a sheriff’s execution sale and otherwise thwart or delay the

   enforcement of the Original Action Final Order and Fraud Judgment.

81. Dr. Khorran failed to comply with this Court’s Subchapter V Order [Doc. 9 in the

   Bankruptcy Case] by failing to file monthly operating reports, apparently failing to

   pay the Subchapter V Trustee, and possibly did not close his accounts..

82. At the hearing held on February 8, 2024, the Debtor informed the Court that his prior

   counsel, Buddy Ford, had terminated representation based upon Mr. Ford’s allegation

   that the Debtor committing perjury at the 341 Meeting held on January 3, 2024 (the

   “341 Meeting”).

83. Dr. Khorran has failed to amend his schedules to include matters that he agreed to

   include at his 341 Meeting.

84. Dr. Khorran failed to list obligations owed to his friends and family.

85. Dr. Khorran likely has also failed to disclose payments to or on behalf of insiders

   during the year preceding the Bankruptcy Case.



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           86. This Adversary Complaint is brought to exempt certain claims or portions of claims

                 held by Pro Health from discharge, and some the counts alleged herein are pleaded in

                 the alternative.

                           Count 1: Objection to Dischargeability
       of the Fraud Judgment and Related Attorney’s Fees Pursuant to Bankruptcy Code
                                       §523(a)(2)(A)

           87.       This is an action to determine the dischargeability of the Fraud Judgment pursuant

to Bankruptcy Code §523(a)(2)(A), and Federal Rules of Bankruptcy Procedure 7001 and 4007.

           88.       Pro Health realleges and incorporate by reference the allegations in paragraphs 1

through 86 as though fully set forth herein.

           89.       Section 523(a)(2)(A) of the Bankruptcy Code provides in relevant part that:

                    a discharge under … this title does not discharge an individual debtor from
                    any debt … for money, property, services, or an extension, renewal, or
                    refinancing of credit … obtained by … false pretenses, a false
                    representations, or actual fraud, other than a statement respecting the
                    debtor’s … financial condition.

           90.       All fraud claims which creditors have successfully reduced to judgment will be

nondischargeable in bankruptcy.2

           91.       Dr. Khorran’s conduct as alleged in Pro Health’s Counterclaim in the Fraud Action

resulted in his obtaining money from Pro Health false pretenses, false representations, and actual

fraud, other than a statement respecting Dr. Khorran’s financial position.

           92.       At the time that Dr. Khorran made his representations or omitted material facts from

Pro Health, Dr. Khorran knew them to be false.

           93.       Dr. Khorran’s false representations to Pro Health were made with the intent and

purpose of deceiving Pro Health, and created or fostered false impressions through various false



2
    Grogan v. Garner, 498 U.S. 279, 290 (1991).

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pretenses and Dr. Khorran’s conduct was intended to induce Pro Health into entering into the Lease

with Dr. Khorran.

       94.     Pro Health relied on Dr. Khorran’s false representations, false pretenses, and course

of conduct.

       95.     Pro Health reliance on Dr. Khorran’s false representations, false pretenses, and

course of conduct was justified, and at no point in time was the falsity of Dr. Khorran’s

representations or conduct readily apparent to Pro Health.

       96.     Pro Health have sustained damage as the proximate consequence of the

representations having been made, the material facts omitted, and Dr. Khorran’s course of conduct.

       97.     To this end, Pro Health alleged a cause of action for fraudulent misrepresentation

in Count 3 of the Counterclaim in the Fraud Action.

       98.     The State Court entered the Fraud Judgment against Dr. Khorran.

       99.     In the Fraud Judgment, the State Court specifically found that:

               The General Allegations describe conduct on the part of the Plaintiffs that
               establish fraudulent misrepresentations that were made to induce Pro Health
               into entering into the Lease, repeat breaches of the Lease and bad faith
               conduct with respect to their obligations under the Lease that spanned from
               March 2013 through March 14, 2022, failures to comply with statutory
               obligations, local laws, and ordinances, that establish, as alleged in the
               Amended Complaint, that the Plaintiffs acted with a conscious disregard for
               Pro Health’s rights, and that such actions or omissions were willful,
               deliberate, and malicious.

       100.    The State Court concluded that:

               The Court having reviewed the Counterclaim, the evidence admitted at the
               Final Evidentiary Hearing, and submissions of the parties finds that Pro
               Health is entitled to the declaratory and equitable relief sought in its
               Counterclaim and is entitled to recover the sums determined in the Final
               Order and Judgment on its Counterclaim as more specifically provided in
               the Court’s Final Order and Judgment below.

       101.    In the Fraud Judgment, the State Court Ordered and Adjudged that:


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               a. “Final Judgment is entered in favor of Pro Health, Inc. on Counts 1 through 7

                   of its Counterclaim;” and

               b. “Pro Health, Inc. is entitled to recover the amount of $300,136.13 from Raphael

                   Khorran.”

       102.    Pursuant to Bankruptcy Code §523(a)(2)(A), the foregoing establishes that the

Fraud Judgment and the attorney’s fees and costs related to the Fraud Judgment and action are

non-dischargeable in the context of the Bankruptcy Case.

       WHEREFORE, Pro Health request that this Court:

               A. determine that based upon the foregoing circumstances the Fraud Judgment and

                   the attorneys fees and costs related to the Fraud Judgment and action are non-

                   dischargeable under Bankruptcy Code §523(a)(2)(A);

               B. liquidate any unliquidated portion of Pro Health’ claims and enter judgment in

                   its favor and against Dr. Khorran for sums owing; and

               C. grant Pro Health any other relief as is appropriate under applicable bankruptcy

                   or non-bankruptcy law.

 Count 2: Objecting to Dischargeability of a Fraud Judgment and Related Attorney’s Fees
                                 Pursuant to §523(a)(6)

       103.    This is an action to determine the dischargeability of the Fraud Judgment and

related attorney’s fees pursuant to Bankruptcy Code §523(a)(6), and Federal Rules of Bankruptcy

Procedure 7001 and 4007.

       104.    Pro Health realleges and incorporate by reference the allegations in paragraphs 1

through 86, as though fully set forth herein.

       105.    Section 523(a)(6) of the Bankruptcy Code states in relevant part:

               A discharge under … this title does not discharge an individual debtor from


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               any debt … for willful and malicious injury by the debtor to another entity
               or to the property of another entity.

       106.    Pro Health is an “entity” as defined under 11 U.S.C. § 101(15).

       107.    Khorran’s conduct constitutes willful and malicious conduct which intended, and

resulted in, injury to Pro Health.

       108.    As alleged above, Khorran willfully, deliberately, and maliciously breached the

Lease, attempted to evict Pro Health through judicial process, and ultimately constructively evicted

Pro Health from the Dale Mabry Property, as such, Dr. Khorran’s conduct toward Pro Health with

respect to the Lease, the Dale Mabry Property, its Right of First Refusal, and its prosecution and

defense of claims in the Original Action.

       109.    In the Fraud Judgment, the State Court specifically found that:

               The General Allegations describe conduct on the part of the Plaintiffs that
               establish fraudulent misrepresentations that were made to induce Pro Health
               into entering into the Lease, repeat breaches of the Lease and bad faith
               conduct with respect to their obligations under the Lease that spanned from
               March 2013 through March 14, 2022, failures to comply with statutory
               obligations, local laws, and ordinances, that establish, as alleged in the
               Amended Complaint, that the Plaintiffs acted with a conscious disregard for
               Pro Health’s rights, and that such actions or omissions were willful,
               deliberate, and malicious.

       110.    Pro Health sustained damages as the proximate consequence of Khorran’s willful

and malicious conduct toward Pro Health and its property.

       111.    Pursuant to Bankruptcy Code §523(a)(6), the foregoing establishes that the Fraud

Judgment and the attorney’s fees and costs related to the Fraud Judgment and action are non-

dischargeable in the context of the Bankruptcy Case.

       WHEREFORE, Pro Health request that this Court:

               A. determine that based upon the foregoing circumstances the Fraud Judgment and

                   the attorneys fees and costs related to the Fraud Judgment and action are non-


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                     dischargeable under Bankruptcy Code §523(a)(6);

                 B. liquidate any unliquidated portion of Pro Health’ claims and enter judgment in

                     its favor and against Dr. Khorran for sums owing; and

                 C. grant to Pro Health any other relief as is appropriate under applicable

                     bankruptcy or non-bankruptcy law.


                         Count 3: Objection to Dischargeability
  of Some or All Claims Related to the Lease or Original Action Pursuant to Bankruptcy
                                    Code §523(a)(2)(A)

          112.   This is an action to determine the dischargeability of the Original Action Final

Order and attorney’s fees arising from the claims raised in the Original Action pursuant to

Bankruptcy Code §523(a)(2)(A), and Federal Rules of Bankruptcy Procedure 7001 and 4007.

          113.   Pro Health realleges and incorporate by reference the allegations in paragraphs 1

through 86 as though fully set forth herein.

          114.   Section 523(a)(2)(A) of the Bankruptcy Code provides in relevant part that:

                 a discharge under … this title does not discharge an individual debtor from
                 any debt … for money, property, services, or an extension, renewal, or
                 refinancing of credit … obtained by … false pretenses, a false
                 representations, or actual fraud, other than a statement respecting the
                 debtor’s … financial condition.

          115.   The Debtor’s prosecution of the Rent Claims and Breach Claims in the Oringal

Action amounted to a perpetration of a fraud on the Court and actual fraud in the pursuit of the

claims.

          116.   The Breach Claim was fraudulently prosecuted against Pro Health.

          117.   Throughout the Original Action, Dr. Khorran claimed that the roof leaks were a

result of the Breach Claims.

          118.   Dr. Khorran specifically advanced fraudulent arguments that Pro Health’s initial


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renovations caused the problems with the roof, including that Pro Health had removed load-

bearing walls within the Premises.

          119.   In an effort to conceal the truth, which was that no load-bearing walls were

removed, Dr. Khorran concealed the Plans for the building from Pro Health and from his expert

witness, Matt Depin.

          120.   It was not until the State Court entered the Sanctions Order that Dr. Khorran

provided the Plans to Pro Health.

          121.   Upon receipt of the Plans, Pro Health was able to verify that, in fact, it was Dr.

Khorran who had not constructed the Premises including the roof and mansard, which, together

with his failure to maintain the roof caused the leaks, rather than the renovations performed by Pro

Health.

          122.   As determined by the State Court, Pro Health “provided the Khorrans with its floor

plan for the Additional Work that would need to be done and the Khorrans agreed to the Additional

Work,” “the Khorrans informed Pro Health that the Khorrans did not require permits for the Initial

Renovations,” Dr. Khorran’s testimony to the contrary “was not credible and [was] contradicted

by the letter sent by Barbara Khorran on May 30, 2013,” Dr. Khorran “did not provide any

evidence that any of the changes made during the Initial Renovations violated the building code,”

and “the Khorrans did not raise any issue or claims concerning the Initial Renovations for nearly

three years after they were performed, and it was not until sometime in 2016, after Pro Health

began complaining about the leaks that the Khorrans began making claims about the Initial

Renovations.”

          123.   Dr. Khorran protracted the Breach Claims by concealing the plans (the “PPS

Plans”) that he claimed to have permitted for the Dale Mabry Property, that ultimately served as a



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basis to disprove the Breach Claims.

          124.   Dr. Khorran also did not provide the plans to his expert, Matt Depin, and did not

request for Matt Depin to provide an opinion as to the condition of the roof.

          125.   As determined by the State Court,

                 It is indisputable that the building as built does not reflect the design in the
                 PPS plans admitted as Exhibit 40, including the structure of the roof, the
                 installation of the mansard / awning, and the design of the HVAC system.

          126.   The State Court’s conclusions likely would have been evident to Mr. Depin,

however, Dr. Khorran failed to provide the PPS plans to Mr. Depin, and, instead only provided

him with a floor plan and Dr. Khorran’s bare statements regarding the work performed by Pro

Health.

          127.   Dr. Khorran consciously disregarding Pro Health’s rights with respect to the Lease

and the Dale Mabry Property, which ultimately led to the constructive eviction of Pro Health.

          128.   Dr. Khorran consciously disregarding Pro Health’s rights in the Original Action by

prosecuting fraudulent claims against it, concealing evidence, and advancing completely

unsupported claims and arguments.

          129.   The Rent Claim was fraudulently prosecuted against Pro Health.

          130.   With respect to the Rent Claim, Dr. Khorran advanced fraudulent arguments that

Pro Health was only given four months rent abatement at the start of the Lease despite his full

knowledge, as evidenced by his fax to Travis Godwin, that Pro Health was given five months rent

abatement at the outset of the Lease.

          131.   As determined by the State Court,

                 Neither Dr. Khorran’s, nor Judith Cole’s testimony regarding the rent was
                 credible. Dr. Khorran did not handle the rent on behalf of himself and
                 Barbara Khorran for the first three years of the Lease and did not maintain
                 complete records that could support his claims regarding the rent. Indeed,


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               Judith Cole was required to obtain records from Dr. Khorran’s insurance
               agent, the internet, and Pro Health’s records in preparing her report because
               Dr. Khorran did not maintain sufficient records for her to base her opinion.
               Despite her efforts to obtain records, she was unable to obtain records to
               confirm all of the amounts in her report, and the report does not reflect the
               records that she allegedly relied upon in preparing her report. Instead, her
               report appears to be consistent with her testimony that instead, she relied on
               Dr. Khorran to tell her what payments were due under the Lease, when
               payments were due under the Lease, and his interpretation of the Lease. As
               a result, Judith Cole’s report is unreliable and contradicted by the records,
               including the Lease, and is contrary to her own understanding of a rent
               commencement date.

               Judith Cole testified that Dr. Khorran did not maintain complete insurance
               records, property tax records, sales tax records, or payment records, such
               that she could prepare her report, and that she could not verify the
               information she was provided to prepare her report; and that she relied on
               Dr. Khorran to tell her what the payments were due under the Lease, when
               payments were due under the Lease, and his interpretation of the Lease. As
               a result, Judith Cole’s report does not reflect the following: a correct rent
               commencement date, proper increases in the amounts due for insurance in
               January of each year, despite the bill not being received until April, as well
               as required increases in taxes and insurance without Pro Health being
               provided any notices provided regarding the alleged increases.

       132.    Prior to his deposition, Dr. Khorran fabricated records to attempt to support his the

Rent Claims.

       133.    Dr. Khorran’s attempt to bolster the credibility of his fabricated claims by having

them presented through an expert witness, Judith Cole, failed.

       134.    Dr. Khorran acted fraudulently by fabricating or concealing evidence regarding the

Rent Claim and the Breach Claim, concealing evidence including the PPS Plans that would prove

Pro Health’s claims, making false representations to the State Court and in discovery, and bringing

wholly frivolous and baseless claims against Pro Health.

       135.    Dr. Khorran received funds from the registry of the Court predicated on his

fraudulent claims of debt service, and even attempted to receive funds disbursed for repairs to the

Dale Mabry Property as a kickback from his contractor, which were paid $9,000.00 to his attorney


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and $9,000.00 to Dr. Khorran.

       136.      Pursuant to Bankruptcy Code §523(a)(2)(A), the foregoing establishes that Pro

Health’s claims asserted herein including that some or all of the amounts awarded in the Original

Action Final Order and the attorney’s fees and costs related to the Original Action, 3100 Appeal,

and 3555 Appeal are non-dischargeable in the context of the Bankruptcy Case.

       WHEREFORE, Pro Health request that this Court:

       A. determine that based upon the foregoing circumstances the obligations related to the

           Original Action, Original Action Final Order, 3100 Appeal, and 3555 Appeal, and/or

           additional attorneys fees and costs related to the Original Action, 3100 Appeal, and

           3555 Appeal are non-dischargeable under Bankruptcy Code §523(a)(2)(A);

       B. liquidate any of Pro Health’ unliquidated claims for attorney’s fees and costs and enter

           judgment in its favor and against Dr. Khorran for sums owing; and grant Pro Health

           any other relief as is appropriate under applicable bankruptcy or non-bankruptcy law.

           and

       C. grant to Pro Health any other relief as is appropriate under applicable bankruptcy or

           non-bankruptcy law.

   Count 4: Objecting to Dischargeability of Some or All Claims Related to the Lease or

                             Original Action Pursuant to §523(a)(6)

       137.      This is an action to determine the dischargeability of the some or all of the Pro

Health’s claims related to the Lease or Original Action pursuant to Bankruptcy Code §523(a)(6),

and Federal Rules of Bankruptcy Procedure 7001 and 4007.

       138.      Pro Health realleges and incorporate by reference the allegations in paragraphs 1

through 86, as though fully set forth herein.



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       139.    Section 523(a)(6) of the Bankruptcy Code states in relevant part:

               A discharge under … this title does not discharge an individual debtor from
               any debt … for willful and malicious injury by the debtor to another entity
               or to the property of another entity.

       140.    Pro Health is an entity as defined under 11 U.S.C. § 101(15).

       141.    Khorran’s conduct constitutes willful and malicious conduct which intended, and

resulted in, injury to Pro Health.

       142.    As alleged above, Khorran willfully, deliberately, and maliciously breached the

Lease, attempted to evict Pro Health through judicial process, and ultimately constructively evicted

Pro Health from the Dale Mabry Property, as such, Dr. Khorran’s conduct toward Pro Health with

respect to the Lease, the Dale Mabry Property, its Right of First Refusal, and its prosecution and

defense of claims in the Original Action, was willful, deliberate, and malicious.

       143.    As alleged above, Khorran engaged in actions with a willful and malicious intent

to injure Pro Health.

       144.    Dr. Khorran’s willful and malicious misconduct included:

           a. Prosecuting and maintaining the Rent Claims;

           b. Prosecuting and maintaining the Breach Claims;

           c. Clearly misrepresenting both to Pro Health and to the Court that only four months

               rent abatement when he knew there were five;

           d. Concealing documents, including the PPS plans, that ultimately served to prove Pro

               Health’s defense of the Breach Claims and prove Pro Health’s claims;

           e. Filing the 2022 Eviction Action despite having possession of the Dale Mabry

               Property;

           f. Failing to make the repairs to the roof despite being told by his expert witness, Ted

               Bociek, that the roof needed repairs;

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           g. Constructively evicting Pro Health;

           h. Failing to make repairs to the roof despite being cited by the City of Tampa;

           i. Failing to maintain the Dale Mabry Property, which is subject to Pro Health’s

               judgment liens, including failing to provide it with power such that the air

               conditioning could run.

       145.    Dr. Khorran acted with malice by consciously disregarding his duties under the

Lease, duties to disclose documents in the Original Action, refraining from bringing the Rent

Claim and Breach Claim and fabricating or concealing evidence regarding them, concealing

evidence that would prove Pro Health’s claims including the PPS Plans, lack of candor with the

State Court, and bringing wholly frivolous and baseless claims against Pro Health.

       146.    Khorran wrongfully intended to cause injury and harm to Pro Health by maliciously

prosecuting the Rent Claim and Default Claim.

       147.    In addition, Khorran intended to cause injury and harm to Pro Health when Khorran

fraudulently induced Pro Health into entering into the Lease with him by misrepresenting the

condition of the Dale Mabry Property.

       148.    Khorran’s conduct constitutes willful and malicious conduct which intended, and

resulted in, injury to Pro Health.

       149.    Pro Health’s attorneys fees through April 27, 2022 were liquidated in the Final

Order in the Original Action.

       150.    The Pro Health Entities sustained damages as the proximate consequence of

Khorran’s willful and malicious conduct toward Pro Health and their property.

       151.    Such damages include, without limitation, the damages and attorney’s fees and

costs awarded in the Original Action Final Order.



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       152.      Pro Health incurred additional attorney’s fees and costs that were not awarded in

the Original Action Final Order that were caused by Dr. Khorran’s continued fraudulent and

malicious, intentional, and willful misconduct since April 27, 2022, including, without limitation,

Dr. Khorran’s conduct in filing and prosecuting the 3100 Appeal and 3555 Appeal, and his

misconduct in failing to provide discovery in aid of execution in the Original Action.

       153.      Regarding the 3100 Appeal and 3555 Appeal, the Second DCA determined that Pro

Health was entitled to recover its fees from Dr. Khorran.

       154.      Regarding the delays of discovery in aid of execution, the

       155.      Pursuant to Bankruptcy Code §523(a)(6), the foregoing establishes that Pro

Health’s claims asserted herein including that some or all of the amounts awarded in the Original

Action Final Order and the attorney’s fees and costs related to the Original Action, 3100 Appeal,

and 3555 Appeal are non-dischargeable in the context of the Bankruptcy Case.

       WHEREFORE, Pro Health request that this Court:

       A. determine that based upon the foregoing circumstances the obligations related to the

           Original Action, Original Action Final Order, 3100 Appeal, and 3555 Appeal, and/or

           additional attorneys fees and costs related to the Original Action, 3100 Appeal, and

           3555 Appeal are non-dischargeable under Bankruptcy Code §523(a)(6);

       B. liquidate any of Pro Health’ unliquidated claims for attorney’s fees and costs and enter

           judgment in its favor and against Dr. Khorran for sums owing; and grant Pro Health

           any other relief as is appropriate under applicable bankruptcy or non-bankruptcy law.

           and

       C. grant to Pro Health any other relief as is appropriate under applicable bankruptcy or

           non-bankruptcy law.



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                                   Count 5: Malicious Prosecution

        156.     This is an action for malicious prosecution against Dr. Khorran pursuant to Florida

            common law.

        157.     Pro Health realleges and incorporate by reference the allegations in paragraphs 1

through 86, as though fully set forth herein.

        158.     Claims for malicious prosecution are excluded from discharge under Bankruptcy

Code §523(a)(6) because the acts inflict willful and malicious injury to others.3

        159.     Under Florida law, in a malicious prosecution action the plaintiff must establish six

elements:

        (1) an original criminal or civil judicial proceeding against the present plaintiff was
        commenced or continued; (2) the present defendant was the legal cause of the
        original proceeding against the present plaintiff as the defendant in the original
        proceeding; (3) the termination of the original proceeding constituted a bona fide
        termination of that proceeding in favor of the present plaintiff; (4) there was an
        absence of probable cause for the original proceeding; (5) there was malice on the
        part of the present defendant; and (6) the plaintiff suffered damage as a result of the
        original proceeding.4

        160.     Dr. Khorran instated a civil judicial proceeding against Pro Health when he issued

the 3-Day Notice and Breach Notice and asserted the Rent Claims and Breach Claims in the

Original Action.

        161.     Dr. Khorran was the legal cause of the Rent Claims and Breach Claims that he

asserted against it in the Original Action.




3
 In re Thomas, 288 Fed. Appx. 547, 549 (11th Cir. 2008).
4
 Sharaka v. E & A, Inc., 135 So. 3d 428, 431 (Fla. 2d DCA 2014) (citing Alamo Rent–A–Car, Inc. v. Mancusi, 632
So.2d 1352, 1355 (Fla.1994)).


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       162.    The affirmations of the State Court’s decisions in the 3100 Appeal and 3555

Appeal have resulted in the bona fide of the Original Action, including the Rent Claims and

Breach Claims in favor of Pro Health, Inc.

       163.    There was an absence of probable cause for Dr. Khorran to pursue the Rent Claims

because as determined by the State Court,

               Neither Dr. Khorran’s, nor Judith Cole’s testimony regarding the rent was
               credible. Dr. Khorran did not handle the rent on behalf of himself and
               Barbara Khorran for the first three years of the Lease and did not maintain
               complete records that could support his claims regarding the rent. Indeed,
               Judith Cole was required to obtain records from Dr. Khorran’s insurance
               agent, the internet, and Pro Health’s records in preparing her report because
               Dr. Khorran did not maintain sufficient records for her to base her opinion.
               Despite her efforts to obtain records, she was unable to obtain records to
               confirm all of the amounts in her report, and the report does not reflect the
               records that she allegedly relied upon in preparing her report. Instead, her
               report appears to be consistent with her testimony that instead, she relied on
               Dr. Khorran to tell her what payments were due under the Lease, when
               payments were due under the Lease, and his interpretation of the Lease. As
               a result, Judith Cole’s report is unreliable and contradicted by the records,
               including the Lease, and is contrary to her own understanding of a rent
               commencement date.

               Judith Cole testified that Dr. Khorran did not maintain complete insurance
               records, property tax records, sales tax records, or payment records, such
               that she could prepare her report, and that she could not verify the
               information she was provided to prepare her report; and that she relied on
               Dr. Khorran to tell her what the payments were due under the Lease, when
               payments were due under the Lease, and his interpretation of the Lease. As
               a result, Judith Cole’s report does not reflect the following: a correct rent
               commencement date, proper increases in the amounts due for insurance in
               January of each year, despite the bill not being received until April, as well
               as required increases in taxes and insurance without Pro Health being
               provided any notices provided regarding the alleged increases.

       164.    Prior to his deposition, Dr. Khorran fabricated records to attempt to support his the

Rent Claims.

       165.    Dr. Khorran’s attempt to bolster the credibility of his fabricated claims by having

them presented through an expert witness, Judith Cole, failed.


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       166.     In addition, there was an absence of probable cause for Dr. Khorran to maintain

that the parties had agreed to four months of rent abatement at the outset of the Lease, when he

very clearly knew that the parties had agreed to five months of rent abatement at the outset of the

Lease as proven by his correspondence to his initial counsel, Travis Godwin.

       167.     Throughout the Original Action, Dr. Khorran claimed that the roof leaks were a

result of the Breach Claims.

       168.     There was an absence of probable cause for Dr. Khorran to pursue the Breach

Claims because, as determined by the State Court, Pro Health “provided the Khorrans with its floor

plan for the Additional Work that would need to be done and the Khorrans agreed to the Additional

Work,” “the Khorrans informed Pro Health that the Khorrans did not require permits for the Initial

Renovations,” Dr. Khorran’s testimony to the contrary “was not credible and [was] contradicted

by the letter sent by Barbara Khorran on May 30, 2013,” Dr. Khorran “did not provide any

evidence that any of the changes made during the Initial Renovations violated the building code,”

and “the Khorrans did not raise any issue or claims concerning the Initial Renovations for nearly

three years after they were performed, and it was not until sometime in 2016, after Pro Health

began complaining about the leaks that the Khorrans began making claims about the Initial

Renovations.”

       169.     Dr. Khorran protracted the Breach Claims by concealing the plans (the “PPS

Plans”) that he claimed to have permitted for the Dale Mabry Property, that ultimately served as a

basis to disprove the Breach Claims.

       170.     Dr. Khorran also did not provide the plans to his expert, Matt Depin, and did not

request for Matt Depin to provide an opinion as to the condition of the roof.

       171.     As determined by the State Court,



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                   It is indisputable that the building as built does not reflect the design in the
                   PPS plans admitted as Exhibit 40, including the structure of the roof, the
                   installation of the mansard / awning, and the design of the HVAC system.

           172.    The State Court’s conclusions likely would have been evident to Mr. Depin,

however, Dr. Khorran failed to provide the PPS plans to Mr. Depin, and, instead only provided

him with a floor plan and Dr. Khorran’s bare statements regarding the work performed by Pro

Health.

           173.    Dr. Khorran lacked probable cause to bring and maintain the Rent Claims and the

Breach Claims against Pro Health.

           174.    As to malice on the part of the defendant in a malicious prosecution claim, the

plaintiff need not allege actual malice; legal malice is sufficient and may be inferred from, among

other things, a lack of probable cause, gross negligence, or great indifference to persons, property,

or the rights of others.5

           175.    Dr. Khorran acted with malice in fact in an effort to evict Pro Health so that he

could sell the Dale Mabry Property for more than what it was worth subject to the Lease.

           176.    Dr. Khorran acted with legal malice which can be inferred from his actions

including the absence of probable cause for the Rent Claims and Breach Claims.

           177.    Further, in the Fraud Judgment, the State Court found that Dr. Khorran “acted with

a conscious disregard for Pro Health’s rights, and that such actions or omissions were willful,

deliberate, and malicious.”

           178.    Pro Health has suffered damages as a direct and proximate result of Dr Khorran’s

malicious prosecution of the Rent Claim and Breach Claim, including incurring significant

attorney’s fees to defend against the Rent Claim and Breach Claim.



5
    Durkin v. Davis, 814 So. 2d 1246, 1248–49 (Fla. 2d DCA 2002).

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          179.   Attorney's fees may be recoverable as an element of damages with respect to certain

intentional malicious torts, such as malicious prosecution.6

          180.   As it stands, the Rent Claim and Breach Claim were the dominant issues in the

Original Action and Pro Health incurred significant attorney’s fees defending them.

          181.   The Rent Claims required significant discovery and litigation, which ultimately

provide that there was a complete lack of evidence that would support the Rent Claims.

          182.   Pro Health attempted to avoid the significant expense associated with the Rent

Claims by requesting an accounting of the amounts due and owing under the Lease from Dr.

Khorran prior to Dr. Khorran initiating the Rent Claim in the Original Action, however, Dr.

Khorran failed and refused to provide any evidence of the amounts he claimed were overdue in

the 3-Day Notice.

          183.   The Breach Claims required significant discovery, litigation, and expert witness

examination and testimony.

          184.   Pro Health’s attorneys fees through April 27, 2022 were liquidated in the Final

Order in the Original Action.

          WHEREFORE, Pro Health respectfully request this Court enter a judgment for damages

in its favor and against Dr. Khorran for damages caused by the malicious prosecution of the Rent

Claims and Breach Claims, plus accrued interest, and any other or further relief as is just and

proper.

             Count 6 – Objection to Discharge of Debtor Pursuant to Section 727(c)




6
 Quality Holdings of Florida, Inc. v. Selective Investments, IV, LLC, 25 So. 3d 34, 37 (Fla. 4th DCA 2009)(citing
Martha A. Gottfried, Inc. v. Amster, 511 So.2d 595, 600 (Fla. 4th DCA 1987); Bidon v. Dep't of Prof'l Regulation,
Fla. Real Estate Comm'n, 596 So.2d 450, 452 n. 3 (Fla.1992)).

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       185.    This is an action to withhold the discharge of the Debtor pursuant to Section 727(c)

           of the Bankruptcy Code.

       186.    Pro Health realleges and incorporates the allegations in paragraphs 1 through 86 as

though fully set forth herein.

       187.    Certain allegations within this count are pleaded in the alternative due to the Court’s

order that this Amended Adversary Complaint must be filed of even date herewith without the

benefit of full discovery regarding the facts alleged herein.

       188.    Upon limited information and belief, Dr. Khorran failed to disclose certain creditors

on his schedules.

       189.    Upon limited information and belief, Dr. Khorran failed to identify the Fraud

Judgment on his schedules.

       190.    Upon limited information and belief, Pro Health believes that Dr. Khorran also

misstated the values of his assets on his Schedules and omitted assets from his Schedules.

       191.    Upon limited information and belief, Dr. Khorran, with the intent to hinder, delay,

or defraud a creditor or an officer of the state charged with custody of property, has transferred,

removed, destroyed, mutiliated, or concealed, or has permitted to be transferred, removed,

estroyed, mutilated, or concealed:

           a. Property of the debtor within one year before the date of the filing of the petition;

               or

           b. Property of the estate, after the date of the filing of the petition.

       192.    Upon limited information and belief, Pro Health believes that Dr. Khorran has

concealed, destroyed, mutilated, falsified, or failed to keep or preserve any recorded information,

including books, documents, records, and papers, from which the debtor's financial condition or



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business transactions might be ascertained, unless such act or failure to act was justified under all

of the circumstances of the case.

        193.    Upon limited information and belief, Pro Health believes that Dr. Khorran

knowingly and fraudulently, in or in connection with the Bankruptcy Case made a false oath or

account; presented or used a false claim; gave, offered, received, or attempted to obtain money,

property, or advantage, or a promise of money, property, or advantage, for acting or forbearing to

act; or withheld from an officer of the estate entitled to possession under this title, any recorded

information, including books, documents, records, and papers, relating to the debtor's property or

financial affairs.

        194.    Upon limited information and belief, Dr. Khorran has failed to explain

satisfactorily, before determination of denial of discharge any loss of assets or deficiency of assets

to meet the debtor’s liabilities.

        195.    Upon limited information and belief, Dr. Khorran has committed the actions alleged

herein on or within one year before the filing of the Petition, or during the Bankruptcy Case,

concerning an insider.

        WHEREFORE, Pro Health respectfully requests that this Court determine that the Debtor

is not entitled to receive a discharge pursuant to Bankruptcy Code § 727, and grant such other

relief as is appropriate in the circumstances.

Pro Health reserves the right to amend, supplement, or modify this Complaint as discovery

progresses.

        DATED June 4, 2024.

                                                      /s/ Townsend J. Belt
                                                      Townsend J. Belt
                                                      Florida Bar No. 0066811
                                                      Anthony & Partners, LLC


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